
PER CURIAM.
Appellant appeals his conviction as a principal to attempted armed robbery and second-degree felony murder. Appellant argues that the trial court erred by denying his motion for judgment of acquittal, because the State failed to present sufficient evidence to establish that he was a principal to the crimes. We disagree and affirm. We agree with Appellant, however, that there was insufficient evidence upon which the jury could find that Appellant actually possessed a firearm at the time of the attempted robbery. Consequently, the imposition of the mandatory ten-year minimum sentence the trial court assessed pursuant to section 775.087(2)(a), Florida Statutes, was erroneous. We reverse and remand for resentencing in accordance with this opinion. Appellant need not be present for the resentencing.
AFFIRMED in part, REVERSED in part, and REMANDED with instructions.
VAN NORTWICK, THOMAS, and ROBERTS, JJ., concur.
